Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 1 of 8 PageID #: 2298



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION



CELLULAR COMMUNICATIONS
EQUIPMENT LLC,

      Plaintiff,

v.                                         Civil Action No. 6:14-cv-759-KNM

SAMSUNG ELECTRONICS CO., LTD.,
et al.,

      Defendants.




      DEFENDANTS’ SUPPLEMENTAL BRIEF ON CLAIM CONSTRUCTION
Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 2 of 8 PageID #: 2299



       Pursuant to the Court’s Order (Dkt. 170, p. 2), Defendants submit this supplemental brief

addressing the “controlling” and “controlling entity” limitations of the ’8923 patent.
I.     THE “CONTROLLING ENTITY” AND “DIVERTING UNIT” MUST BE
       SEPARATE COMPONENTS
       If the Court does not find the disputed “controlling” / “controlling entity” limitations of

the ’8923 patent indefinite, Defendants submit that the following additional constructions should

apply to claims 1, 4, 24, and 26: (1) The controlling entity of claims 24 and 26 is a physically

separate component from the diverting unit; and (2) The controlling step of claims 1 and 4 must

be performed by a component physically separate from the component that performs the

diverting step. 1 These constructions are based on the express findings of the PTAB in reliance

on CCE’s arguments regarding claim construction in IPR2014-01133.

       In the Final Written Decision issued on Jan. 4, 2016 (Zado Dec. Ex. A), the PTAB

unequivocally found, based on the claim language and specification, that the “diverting unit” and

“controlling entity” of the ’8923 patent must be entirely separate components, and likewise, the

“diverting” and “controlling” steps must be performed by such separate components:
      The claims of the ’923 patent indicate that the diverting and controlling steps in
      claim 1 are performed by separate components, and that the diverting unit
      and controlling entity in claim 24 are separate components. … The
      specification of the ’923 patent confirms that the diverting and controlling
      steps in claim 1 are performed by separate components, and that the
      diverting unit and controlling entity in claim 24 are separate components.
Zado Dec. Ex. A, p. 8-9 (emphasis added); see id. at 13.
       Because petitioner identified a single component for each prior art reference as both the

diverting unit and controlling entity of the ’8923 patent claims (an “isolator engine” in D’Aveira,

and an “interception engine” in Calder 2), the PTAB found the petitioner had not shown the

challenged claims were anticipated or rendered obvious by these references. Zado Dec. Ex. A, p.

9, 13. In so doing, the PTAB expressly relied on statements made by CCE regarding the

appropriate construction of the ’8923 patent claims to distinguish D’Aveira and Calder: “Patent

Owner argues that the diverting and controlling steps in claim 1 are performed by separate

1
  The parties respective constructions are set forth in the table attached hereto at Tab 1.
2
  U.K. Patent Application No. GB 2376766A (Zado Dec. Ex. B) and U.S. Patent Publication
No. 2002/0065869 (Zado Dec. Ex. C), respectively.


                                                 1
Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 3 of 8 PageID #: 2300



components, and that the diverting unit and controlling entity in claim 24 are separate

components. … We agree with Patent Owner.” Zado Dec. Ex. A, p. 8; see Ex. D, p. 27, 29-30.

CCE must therefore be bound by its statements on which the PTAB relied regarding the

appropriate construction of these claim terms. Beneficial Innovations, Inc. v. Blockdot, Inc.,

2010 WL 2246291, at *2 (E.D. Tex. June 3, 2010); LSI Indus., Inc. v. ImagePoint, Inc., 279 F.

App’x 964, 969 (Fed. Cir. 2008).

       A.      For Software Modules, a Single Component Includes a Collection of Related
               Functions; Thus, Software Modules Must Be Physically Separate
       The PTAB’s finding that neither the isolator engine of D’Aveira, nor the interception

module of Calder, could comprise both the “diverting unit” and “controlling entity” (or perform

both the “controlling” and “diverting” steps) further clarifies the requirement that the “diverting

unit and controlling entity [must be] separate components.” See Zado Dec. Ex. A, p. 8-9, 11-12.

Specifically, the prior art software modules (the isolator engine / interception module,

respectively), each comprised a number of different functions for accomplishing various tasks.

However, even though these modules included different groups of functions, which could

separately be attributed to the “diverting” and “controlling” steps of the ’8923 patent claims, the

PTAB found such differing groups of functions could not qualify as separate “components.”

       For example, Calder’s interception module is a software module that performs a number

of separate functions. 3 In particular, the interception module includes one collection of functions

that first “intercept[s] a request from the application to output data to an output device” (or

“intercept[] system calls that are made by the application program.”) (Zado Dec. Ex. C, ¶¶ 7, 73);

once the request or system call has been intercepted, a separate collection of functions in the

interception module determines“[i]f the status is not valid for sending, [and if so] returns to the

application 405 a low level error. However, if the status is valid for sending, an application

provided buffer is written into the send queue.” Zado Dec. Ex. C, ¶ 166; see id. at ¶¶ 73, 158-65.

Similarly, D’Aveira’s isolator engine provides separate collections of functions, including
3
   These functions include, e.g., “provid[ing] virtual allocation and de-allocation routines 425, a
virtualized registry 430, a virtualized files system 435, a virtual other environment 440, a
virtualized network 445, and a virtualized graphics interfaces 450.” Zado Dec. Ex. C, ¶ 85.


                                                  2
Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 4 of 8 PageID #: 2301



“listen[ing] to a particular port number used by the application program” (Zado Dec. Ex. B, 5:3–

14), and afterward, comparing the intercepted message to a file (see id. at 3:26–29, 5:15-6:6).

       Relying on CCE’s arguments, 4 the PTAB rejected the notion that a software module

comprising collections of separate functions could act as both the controlling entity and diverting

unit (or perform both the controlling and diverting steps):
       Petitioner also argues that one part of the isolator engine in D’Aviera diverts a
       message and another part controls the message. … Petitioner’s argument is not
       persuasive. Petitioner describes the different functions performed by the isolator
       engine, but does not show that the isolator engine is two separate components.
See Zado Dec. Ex. A, p. 11. Thus, the PTAB required actual physical separation between

components, not merely separate collections of software functions, to satisfy the ’8923 claims.

       In confirming this requirement, the PTAB noted that, in the first of two embodiments of

the ’8923 patent, a “SIP protocol stack” acts as the diverting unit, and a “trusted agent” as the

controlling entity (Zado Dec. Ex. E, 2:3–10; 4:51–5:8; 6:20–26; Figs. 2, 6); in the second

embodiment, a “middleware modification module” residing between the applications and the SIP

protocol stack acts as the diverting unit, with the trusted agent again as the controlling entity (id.,

6:49–61, Figs. 7, 8). See Zado Dec. Ex. A, p. 9-10. In all disclosed embodiments, the diverting

unit and the controlling entity are described as physically separate components—with the

diverting unit located outside of the tamper resistant area, and the controlling entity located

inside the tamper resistant area. See Zado Dec. Ex. E, 1:59–60, 2:3-11; 3:57-63; 6:20–26, 49–

61; 7:6–12; Figs. 2, 6–8. Thus, separate groups of software functions, in and of themselves, do

not qualify as “separate components”; rather, such functions must further be physically separate

to meet the ’8923 patent claims. See Zado Dec. Ex. A, p. 10 (“Those figures also show that the

trusted agent may reside in a tamper resistant area of the terminal that is separate from the area

of the terminal where the SIP protocol stack and middleware modification module reside.”).

4
   CCE argued that, as a matter of claim construction, the “diverting unit” and “diverting step”
must be performed by a component that “intervenes” between the application program and the
controlling entity: “[T]he plain language of independent claims 1 and 24 clearly require an
intervening step of ‘divert[ing]’ a message to the claimed controlling entity that is performed
after a message has been sent from the application program and before the message is received
by the claimed controlling entity. … The Petition and Declaration fail to even identify the
structure or process capable of performing this intervening step.” Zado Dec. Ex. D, p. 30, 27.


                                                   3
Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 5 of 8 PageID #: 2302



DATED: January 19, 2016

Respectfully submitted,

 /s/ Sarah J. Kalemeris, with permission by     /s/ Ray Zado, with permission by
 Michael E. Jones                               Michael E. Jones
 Michael E. Jones                             Kevin Johnson
 State Bar No. 10929400                       kevinjohnson@quinnemanuel.com
 Patrick C. Clutter, IV                       Victoria Maroulis
 State Bar No. 24036374                       victoriamaroulis@quinnemanuel.com
 mikejones@potterminton.com                   Ray Zado
 patrickclutter@potterminton.com              rayzado@quinnemanuel.com
 Potter Minton, P.C.                          QUINN EMANUEL URQUHART &
 110 N. College Ave., Suite 500               SULLIVAN LLP
 Tyler, Texas 75702                           555 Twin Dolphin Dr., 5th Floor
 Tel: (903) 597-8311                          Redwood Shores, CA 94065
  Fax: (903) 593-0846                         Tel: 650-801-5000
                                              Fax: 650-801-5100
 Charles B. Molster, III
 Virginia State Bar No. 23613                 Marissa Ducca
 Thomas M. Dunham                             Deepa Acharya
 D.C. Bar No. 448407                          marissaducca@quinnemanuel.com
 Corrine M. Saylor                            deepaacharya@quinnemanuel.com
 D.C. Bar No. 997638 (Pro Hac Vice)           QUINN EMANUEL URQUHART &
 cmolster@winston.com                         SULLIVAN LLP
 tdunham@winston.com                          777 6th Street NW, 11th Floor
 csaylor@winston.com                          Washington, D.C. 20009
 WINSTON & STRAWN LLP                         Tel: 202-538-8109
 1700 K Street, N.W.                          Fax: 202-538-8100
 Washington, D.C. 20006-3817
 Tel: (202) 282-5000                          Michael E. Jones
 Fax: (202) 282-5100                          State Bar No. 10929400
                                              mikejones@potterminton.com
 Sarah J. Kalemeris                           Allen F. Gardner
 IL Bar No. 6303644                           State Bar No. 24043679
 skalemeris@winston.com                       allengardner@potterminton.com
 WINSTON & STRAWN LLP                         POTTER MINTON
 35 W Wacker Drive                            110 N. College, Suite 500
 Chicago, IL 60601                            Tyler, Texas 75702
 Tel: (312) 558-5600                          Tel: (903) 597-8311
 Fax: (312) 558-5700                          Fax: (903) 593-0846

 ATTORNEYS FOR CELLCO                         ATTORNEYS FOR SAMSUNG
 PARTNERSHIP D/B/A/ VERIZON                   ELECTRONICS CO., LTD. AND
 WIRELESS                                     SAMSUNG ELECTRONICS AMERICA,
                                              INC.
Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 6 of 8 PageID #: 2303



                                         /s/ Christopher W. Kennerly, with permission
/s/ Mark McGrory, with permission by     by Michael E. Jones
Michael E. Jones                         Christopher W. Kennerly
Mark McGrory (pro hac vice)              TX Bar No. 00795077
Megan J. Redmond (pro hac vice)          chriskennerly@paulhastings.com
Carrie A. Bader (pro hac vice)           Jonas P. Herrell
ERISE IP                                 CA Bar No. 279075
6201 College Boulevard, Suite 300        jonasherrell@paulhastings.com
Overland Park, KS 66211                  PAUL HASTINGS LLP
Office: 913-777-5600                     1117 S. California Ave.
Fax: 913-777-5601                        Palo Alto, CA 94304-1106
Mark.mcgrory@eriseip.com                 Telephone: (650) 320-1800
Megan.redmond@eriseip.com                Facsimile: (650) 320-1900
Carrie.bader@eriseip.com
                                         Jeffrey D. Comeau
Robert W. Weber                          CA Bar No. 259679
Texas State Bar No. 21044800             jeffreycomeau@paulhastings.com
SMITH WEBER, L.L.P.                      PAUL HASTINGS LLP
5505 Plaza Drive                         4747 Executive Drive
P.O. Box 6167                            Twelfth Floor
Texarkana, TX 75505-6167                 San Diego, CA 92121-3114
Tele: (903) 223-5656                     Telephone: (858) 458-3000
Fax: (903) 223-5652                      Facsimile: (858) 458-3005
Email: bweber@smithweber.com
                                         Trey Yarbrough
Mark W. McGrory (pro hac vice)           TX Bar No. 22133500
Erise IP, P.A.                           trey@yw-lawfirm.com
6201 College Blvd, Ste 300               YARBROUGH WILCOX, PLLC
Overland Park, KS 66211                  100 E. Ferguson St., Suite 1015
(913) 777-5600                           Tyler, Texas 75702
(913) 777-5601 - fax                     Telephone (903) 595-3111
mark.mcgrory@eriseip.com                 Facsimile (903) 595-019

ATTORNEYS FOR SPRINT                     ATTORNEYS FOR AT&T MOBILITY
SOLUTIONS, INC., SPRINT                  LLC
SPECTRUM L.P., AND BOOST
MOBILE, LLC


/s/ Zachary Elsea , with permission by
Michael E. Jones
Melissa R. Smith
State Bar No. 24001351
GILLAM & SMITH, LLP
303 S. Washington Ave.
Marshall, TX 75670
Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 7 of 8 PageID #: 2304



Phone: (903) 934-8450
Fax: (903) 934-9257
melissa@gillamsmithlaw.com

John C. Hueston
Alex C. D. Giza
Douglas J. Dixon
HUESTON HENNIGAN LLP
620 Newport Center Dr., Ste. 1300
Newport Beach, CA 92660
Phone: (949) 229-8640
JHueston@hueston.com
AGiza@hueston.com
DDixon@hueston.com

Zachary Elsea
HUESTON HENNIGAN LLP
523 West 6th St., Ste. 400
Los Angeles, CA 90014
Phone: (213) 788-4356
ZElsea@hueston.com

ATTORNEYS FOR T-MOBILE USA,
INC. AND T-MOBILE US, INC.
Case 6:14-cv-00759-KNM Document 173 Filed 01/19/16 Page 8 of 8 PageID #: 2305




                              CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via the Court’s CM/ECF system on the

19th day of January, 2016 per Local Rule CV-5(a)(3).


                                                  /s/ Michael E. Jones
                                                  Michael E. Jones
